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 UNITED STATES DISTRICT COURT                                                   " SEP 2 6 2017
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                                    16-CR-92

                — against —                                  Statement of Reasons Pursuant to
                                                             18 U.S.C. § 3553(c)(2)
  FAROOQ AHMAD,

                       Defendant.


 JACK B . WEINSTEIN, Senior United States District Judge:

 Appearances

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   I.        Introduction

             Farooq Ahmad is a permanent resident of the United States with no previous criminal

 record. Presentence Investigation Report, ("PSR") at 2. On August 18, 2016, he pled guilty to

 one count of "defrauding one or more unauthorized access devices," in violation of U.S.C. §

 1029(a)(2) and 1029(c)(1)(A)(i). Id. at ¶ 1. In layman's terms, he participated in a scam that

 stole millions of dollars from financial institutions by opening bank accounts and lines of credit

 using fabricated identities. See Id. TT 8-11. On September 13, 2017, he was sentenced to one

 year and one day in prison, three years of supervised release, and a $100 special assessment. See

 Sentencing Hr'g Tr., Sept. 13, 2017 ("Hr'g Tr.").

  II.        Facts

        A.        Offense

             Over the course of several years, Ahmad and his co-conspirators created synthetic

 identities—fake names attached to made-up personal identifiers such as birthdates, addresses,

 and social security numbers—and shell companies to bilk unsuspecting financial institutions out

 of millions of dollars. They mainly engaged in "check-kiting," where a person deposits fake or

 overdrawn checks in an account and withdraws the money before the bank can clear and reject
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 the check (see PSR at ¶J 5, 9-11, 15), and "credit card bust-outs," where they work with

 cooperating merchants to rack up fraudulent charges on a credit card with no intention of

 repaying the debt. See id. at ¶J 6, 9-11, 17-28. It is unclear exactly how much money was stolen

through this scheme; the government's conservative estimate is that Ahmad's role in the offense

 assisted in a real loss of $2 million. Id. at ¶ 39.

      B.      Arrest

           Defendant was arrested on December 4, 2015. Id. at ¶ 39. He was released on bond with

pretrial reporting conditions the same day. Id. at 1.

      C.      Guilty Plea

           Abmad pled guilty to one count of to one count of defrauding one or more unauthorized

 access devices in violation of U.S.C. §§ 1029(a)(2) and 1029(c)(1)(A)(i). Id. at ¶ 1.

      D.      Sentencing Hearing

           The sentencing proceedings were videotaped to record courtroom atmosphere, as well as

 some of the subtle factors and considerations that a district court must consider in imposing a

 sentence. See 18 U.S.C. § 3553(a); In re Sentencing, 219 F.R.D. 262, 264-65 (E.D.N.Y. 2004)

 (describing the value of video recording for the review of sentences on appeal).

 III. Offense Level, Category, and Sentencing Guidelines Range

           The base offense level for his offense is 6. PSR at ¶ 47; 18 U.S.C. § 1029(a)(2); United

 States Sentencing Guidelines ("U.S.S.G.") § 2B1.1(a). Sixteen levels were added because the

 offense caused a conservative real loss of $2 million, and two levels were added because Ahmad

 derived more than $1 million in gross receipts from financial institutions. PSR at TT 48, 52;

U. S. S .G. §§ 213 1.1 (b)( 1 )(I), 213 1.1 (b)( 1 6)(A). The methods employed by the scammers resulted

in several enhancements: two levels were added because they intentionally used sophisticated

means; two more levels were added because they used fraudulent credit cards; and two more

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levels were added because there were more than ten victims. PSR at ¶J 49-5 1; U.S.S.G. §

2131.1(b)(2)(A)(i), 2131.1(b)(10)(C), 2B1.1(b)(1 l)(B)(i). The offense level was increased a

further four points because Ahmad organized a group of at least five people to participate in the

crime. PSR at ¶ 54; U.S.S.G. § 3B1.1(a). His offense level was decreased three levels for

accepting responsibility for his crime and for timely notifying the government of his intention to

plead guilty. PSR at TT 58-59; U.S.S.G. §§ 3E1.1(a), 3E1.l(b).

        The total adjusted offense level is 31. PSR at ¶ 60. Defendant has a criminal history

score of zero, which establishes a criminal history category of under U.S.S.G. Ch. 5 Pt. A. Id.

at ¶ 63. The Guidelines sentencing range is 108 to 135 months, though there is a maximum

statutory sentence of 120 months. Id. at ¶ 91; U.S.S.G. § 5G1. 1(c)(1).

        One to three years of supervised release are recommended by the Guidelines. PSR at ¶

93; U.S.S.G. § 5D1.2(a)(2).

        Restitution is mandatory. PSR at ¶J 101-02; 18 U.S.C. § 3663A; U.S.S.G. § 5E1.1.

IV. Law

        Pursuant to the Supreme Court's decision in United States v. Booker, the Guidelines are

advisory; a sentencing court may depart from the Guidelines in the interest of justice as well as

in light of other statutory concerns as expressed in section 3 553(a). United States v. Booker, 543

U.S. 220, 245-46 (2005); see also United States v. Cavera, 550 F.3d 180 9 189 (2d Cir. 2008) (en

banc) ("It is now, however, emphatically clear that the Guidelines are guidelines - that is, they

are truly advisory. A district court may not presume that a Guidelines sentence is reasonable; it

must instead conduct its own independent review of the sentencing factors, aided by the

arguments of the prosecution and defense." (footnote omitted)).

       A sentencing court shall "state in open court the reasons for its imposition of the

particular sentence." 18 U.S.C. § 3553(c). If the sentence is not of the kind prescribed by, or is

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outside the range of, the Sentencing Guidelines referred to in section 3553(a)(4) of title 18, the

court shall indicate the specific reasons for imposing a different sentence. See 18 U.S.C. §

3553(c)(2). These "reasons must also be stated with specificity in a statement of reasons form."

Id. Even though the Guidelines are now advisory rather than mandatory, Booker, 543 U.S. at

245, the sentencing court must still adhere to the requirements of 18 U.S.C. § 3553(c)(2). United

States v. Jones, 460 F.3d 191 5 197 (2d Cir. 2006).

        The court's statement of reasons must be "a simple, fact-specific statement explaining

why the Guidelines range did not account for a specific factor or factors under § 3553(a)."

 United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006), abrogated in part on other grounds

by Kimbrough v. United States, 552 U.S. 85 (2007). Such a statement should demonstrate that

the court "considered the parties' arguments' and that it has a 'reasoned basis for exercising [its]

own legal decisionmaking authority." Cavera, 550 F.3d at 193 (alteration in original) (quoting

Rita v. United States, 551 U.S. 338, 356 (2007)).

        In view of the excessive incarceration rates in the recent past and their unnecessary,

deleterious effects on individuals sentenced, society, and our economy, parsimony in

incarceration is to be prized. See, e.g., 18 U.S.C. § 3553(a) ("The court shall impose a sentence

 [that is] sufficient, but not greater than necessary."); National Research Council of the National

Academies, The Growth of Incarceration in the United States, Exploring Causes and

 Consequences 8 (2014) ("Parsimony: the period of confinement should be sufficient but not

 greater than necessary to achieve the goals of sentencing policy.").

  V.    18 U.S.C. § 3553(a) Considerations

        The court considered the "nature and circumstances of the offense and the history and

 characteristics of the defendant." 18 U.S.C. § 3553(a)(1).



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         Ahmad was born in 1970 in Pakistan, the eldest of nine children. PSR at ¶IJ 68-69. As a

 member of the Abmadiyya sect of Islam, his family faced life-threatening religious persecution.

 See Def.'s Mem., ECF No. 131, at 6-9. Ahmadis, who follow the Quran and Five Pillars of

 Islam, consider themselves to be Muslims, but are considered blasphemers by the government of

 Pakistan. Id. at 6. Pakistan's Ordinance XX, promulgated in 1984, excludes Ahmadis from

 practicing Islam publicly and criminalizes their use of the phrase as-salaam-alaikum, a common

 greeting. Id. at 8.

         In 1985, Ahmad was walking home from a market with his father when three mullahs

 stopped them. One shot Abmad's father in the chest, and he died in Ahmad's arms.           Id. at 8-9.

 His father's dying wish was for Ahmad to take care of his mother and siblings and to continue

 practicing his religion. Id. at 9. The murderer was taken into custody, but eventually released

 with little punishment after thousands of mullahs intimidated the authorities holding him. Id.

         Ahmad tried to provide for his family through cultivation of the sustenance farm they

 lived on. But the family lived under constant threat. He fled to the United States seeking refuge.

 Id. Though these events occurred over thirty years ago, its lasting impact on Ahmad is plain: he

 wept inconsolably at the sentencing hearing when describing his father's death and his family's

 persecution.

         The defendant is married with two children. Id. His wife and children (American

 citizens) live in Pakistan. He has a strained relationship with his wife, but is a good father to his

 two children and speaks with them daily. Id. at 9-10.

         Because he was thrust into the role of breadwinner, Ahmad's highest level of educational

 attainment is completion of the 9th grade. PSR at ¶ 79. He worked for twenty years as a livery

 car driver, and more recently, as a site supervisor for a contractor.   Id. at ¶J 81-84.
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             Abmad is obviously remorseful about his crime.

             He hopes to visit his sick mother in Australia before she dies in the near future. Hr'g Tr.

  This is a reasonable ground for a shorter period of incarceration.

  VI.        Sentence

             The defendant is sentenced to one year and one day in custody. A $100 special

  assessment is imposed. 18 U.S.C. § 3013. Defendant is ordered to forfeit $1 million. PSR at ¶

      103. Restitution is ordered. Id. at 10 1-02. No fine is imposed because of the defendant's

  inability to pay given the forfeiture order. See id. at ¶ 89.

             He is sentenced to three years of supervised release. During supervised release, in

  addition to the usual conditions, Ahmad must cooperate with immigration authorities. Hr'g Tr.

  He should be promptly deported upon his release from custody.

             General and specific deterrence are achieved by the sentence imposed. Defendant has

  complied with the conditions of pretrial supervision without any issue of non-compliance for

  twenty-one months. Hr'g Tr.

             Incarceration is necessary. Scams like this one shake confidence and trust in the financial

      system our economy depends upon. Given the nature and circumstances of the defendant's

      upbringing and his offense—and that immediate deportation is looming once he leaves

      custody—a longer custodial sentence would be overly burdensome on defendant and taxpayers.

      He understands the gravity of his actions. As a first time offender it is unlikely that he will

      violate the law again.

VI.          Conclusion

             All relevant elements of the Guidelines and statutes have been considered. Respectful

      consideration was given to the Sentencing Commission's policy statements, and all other factors
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listed under section 3553(a) of title 18, to ensure that the sentence is "sufficient, but not greater

than necessary, to comply with the purposes" of sentencing. 18 U.S.C. § 3553(a).




                                                        SO ORDERED.


                                                         Is! Jack B. Weinstein
                                                        Jack B. Weinstein
                                                        Senior United States District Judge
Dated: September 15, 2017
Brooklyn, New York




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